
The following order was entered:
Plaintiffs' Motion to Withdraw Pending Petitions, filed on 9 March 2018, is allowed as to plaintiffs' Petition for Writ of Certiorari, filed on 30 October 2017, and as to plaintiffs' Petition for Writ of Supersedeas, filed on 30 October 2017.
Plaintiffs' Motion to Vacate as Moot the 13 October 2017 order of the Court of Appeals allowing petitioners' 21 September 2017 Petition for Writ of Prohibition is remanded to the Court of Appeals of North Carolina for its consideration.
By special order of the Court in Conference, this the 5th day of April 2018.
Ervin, J. recused.
